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                              No. 22-cv-1019-KAD
                              No. 22-cv-1028-KAD
______________________________________________________________________________

                   IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF CONNECTICUT
______________________________________________________________________________

                          In re HO WAN KWOK, Debtor.
______________________________________________________________________________

                               HO WAN KWOK, Appellant,

                                         v.

            LUC A. DESPINS, as CHAPTER 11 TRUSTEE, et al., Appellees.
______________________________________________________________________________

                            ON APPEAL FROM THE
   UNITED STATES BANKRUPTCY COURT FOR THE DISTRICT OF CONNECTICUT
______________________________________________________________________________

                     NOTICE OF NON-PARTICIPATION OF
            WILLIAM K. HARRINGTON, UNITED STATES TRUSTEE
______________________________________________________________________________

RAMONA D. ELLIOTT                             WILLIAM K. HARRINGTON
Deputy Director/General Counsel               United States Trustee for Region 2
P. MATTHEW SUTKO                              KIM L. McCABE
Associate General Counsel                     Assistant United States Trustee
                                              HOLLEY L. CLAIBORN
                                              Trial Attorney
                                              ANDREW D. VELEZ-RIVERA
                                              Trial Attorney

U.S. Department of Justice                    U.S. Department of Justice
Executive Office for                          Office of the United States Trustee
 United States Trustees                       150 Court Street
441 G Street, NW, Suite 6150                  Room 302
Washington, DC 20530                          New Haven, CT 06510
Tel: (202) 307-1399                           Tel: (203) 773-2210
Fax: (202) 307-2397                           Fax: (203) 773-2217
           Case 3:22-cv-01028-KAD Document 26 Filed 01/16/23 Page 2 of 5




         William K. Harrington, the United States Trustee for Region 2 (“United States Trustee”)

hereby gives notice of an intention to not participate in the bankruptcy appeals herein, designated

as Case No. 22-cv-1019-KAD, and Case No. 22-cv-1028-KAD.

         The appellant, Ho Wan Kwok, is an individual bankruptcy debtor who has filed an appeal

of a discrete paragraph of the Order Denying Motion for Relief from Judgment. In re Kwok,

Bankr. No. 22-50073-JAM, Dkt. No. 667 (virtual, docket order). Such appeal has been assigned

Case No. 22-cv-1019-KAD in this Court. The specific paragraph on appeal provides:

         ORDERED: Although the Debtor did not seek to terminate the
         appointment of the Chapter 11 Trustee under 11 U.S.C. § 1105 or
         remove the Chapter 11 Trustee under 11 U.S.C. § 324, no grounds exist to
         terminate the appointment of Chapter 11 Trustee or remove the Chapter 11
         Trustee appointed in the Debtor's case.

         Mr. Kwok also has appealed the Order, Pursuant to Bankruptcy Code Sections 363, 521,

541, 1108 and 1505, (A) Confirming that Chapter 11 Trustee Holds all of Debtor’s Economic

and Corporate Governance Rights in Debtor-Controlled Entities, (B) Authorizing Chapter 11

Trustee to Act in Any Foreign County on Behalf of Estate, and (C) Granting Related Relief. In re

Kwok, Bankr. No. 22-50073-JAM, Dkt. No. 717 (“Trustee Governance Order”). Such appeal

has been assigned Case No. 22-cv-1028-KAD in this Court. The United States Trustee was not a

party to the specific proceedings leading to the entry of the Trustee Governance Order and did

not take a position on or otherwise procure the order in the bankruptcy court.

         The United States Trustee will not participate in these appeals, unless so directed by this

Court.

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Dated: January 16, 2023                 Respectfully submitted,

                                        WILLIAM K. HARRINGTON
                                        United States Trustee for Region 2

                                  By:   /s/ Holley L. Claiborn
                                        Holley L. Claiborn / ct17216
                                        Trial Attorney

RAMONA D. ELLIOTT                       WILLIAM K. HARRINGTON
Deputy Director/General Counsel         United States Trustee for Region 2
P. MATTHEW SUTKO                        KIM L. McCABE
Associate General Counsel               Assistant United States Trustee
                                        HOLLEY L. CLAIBORN
                                        Trial Attorney
                                        ANDREW D. VELEZ-RIVERA
                                        Trial Attorney

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         Case 3:22-cv-01028-KAD Document 26 Filed 01/16/23 Page 4 of 5




                                CERTIFICATE OF SERVICE

       I certify that on January 16, 2023, the forgoing NOTICE OF NON-PARTICIPATION OF
WILLIAM K. HARRINGTON, UNITED STATES TRUSTEE was served by CM/ECF on the
following:

Aaron Romney        aromney@zeislaw.com, swenthen@zeislaw.com

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Avram E Luft       aviluft@paulhastings.com

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